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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA
HUNTINGTON GRAND JURY 2021
MARCH 28, 2023 SESSION

UNITED STATES OF AMERICA

v. CRIMINAL NO. 3 ‘ee or “YD

18 U.S.C. § 924(a) (1) (A)

DANIEL LEE FERGUSON

INDICTMENT

The Grand Jury Charges:
COUNT ONE

1. At all relevant times, Tri-State Jewelry & Loan, LLC,
d/b/a Classic Jewelry & Loan, was located in Barboursville, Cabell
County, West Virginia, and was a licensed dealer of firearms as
defined in 18 U.S.C. § 921 (a) (11).

2. On or about February 22, 2023, at or near Barboursville,
cabell County, West Virginia, defendant DANIEL LEE FERGUSON
acquired a firearm, that is, a Springfield Armory, model Hellcat,
9mm pistol, from Tri-State Jewelry & ian, LLC, d/b/a Classic
Jewelry & Loan, for a person whose identity is known to the Grand
Jury.

3. On or about February 22, 2023, at or near Barboursville,

Cabell County, West Virginia, and within the Southern District of

West Virginia, in connection with the acquisition of the aforesaid

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firearm, defendant DANIEL LEE FERGUSON did knowingly make a false
statement and representation with respect to the information
required by the provisions of Chapter 44, Title 18, United States
Code, to be kept in the records of Tri-State Jewelry & Loan, LLC,
d/b/a Classic Jewelry & Loan, that is, defendant DANIEL LER
FERGUSON stated and represented on a Department of Justice ATF
Form 4473 that he was the actual transferee and buyer of the
aforesaid firearm when, in fact, as defendant DANIEL LEE FERGUSON
well knew, a person whose identity is known to the Grand Jury was
the true actual transferee and buyer of the firearm.

In violation of Title 18, United States Code, Section

924 (a) (1) (A).

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COUNT TWO

1. At all relevant times, Tri-State Jewelry & Loan, LLC,
d/b/a Classic Jewelry & Loan, was located in Barboursville, Cabell
County, West Virginia, and was a licensed dealer of firearms as
defined in 18 U.S.C. § 921(a) (11).

2. On or about February 25, 2023, at or near Barboursville,
Cabell County, West Virginia, defendant DANIEL LEE FERGUSON
acquired a firearm, that is, a Springfield Armory, model Prodigy,
9mm pistol, from Tri-State Jewelry & Loan, LLC, d/b/a Classic
Jewelry & Loan, for a person whose identity is known to the Grand
Jury.

3. On or about February 25, 2023, at or near Barboursville,
Cabell County, West Virginia, and within the Southern District of
West Virginia, in connection with the acquisition of the aforesaid
firearm, defendant DANIEL LEE FERGUSON did knowingly make a false
statement and representation with respect to the information
required by the provisions of Chapter 44, Title 18, United States
Code, to be kept in the records of Tri-State Jewelry & Loan, LLC,
d/b/a Classic Jewelry & Loan, that is, defendant DANIEL LEE
FERGUSON stated and represented on a Department of Justice ATF
Form 4473 that he was the actual transferee and buyer of the
aforesaid firearm when, in fact, as defendant DANIEL LEE FERGUSON
well knew, a person whose identity is known to the Grand Jury was

the true actual transferee and buyer of the firearm.

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In violation of Title 18, United States Code, Section

924 (a) (1) (A).

WILLIAM S. THOMPSON
United States Attorney

By:

F. ADAMS
Assistant United States Attorney
